            Case 5:08-cr-00039-GEC-BWC                         Document 324               Filed 09/28/15 CL
                                                                                                          Page   1 ofCE
                                                                                                           ERK'S OFFI 1 U.S.DISTLCOURT
                                                              Pageid#: 1134                                                         AT ROANOKE,VA
aocxcto6/aq-vawlo-d--R-g-di-gu-ti--r--s--t----R-d--ti--p-----tt-,su,s.
                                                                     c.ja,:a(-)(2)                                                       Iz'l
                                                                                                                                            -Eo

                                                                                                                               sEP 23 2015
                                        UN ITED STA TES D ISTRICT CO U RT
                                                                     forthe                                               JUL           D LEx C     K
                                                                                                                         BY:
                                                           W estern DistrictofVirginia                                              E     OLE
                         United StatesofAm erica
                                      M.                                        CmseNo.: 5:08CR00039-01
                                                                                USM No: 13559-024
                   BRIAN ANTONIO STRICKLAND
       DateofPreviousJudgment:         N ovember 15,2011                        Defendant'sAtlom ey
      (UseDateofLastAmendedJudgmenté'
                                    Applicable)

                         OrderRegardingMotionforSentenceReductionPursuantto18U.S.C.j35824$(2)

                Uponmotionof1
                            -Z thedefendantF-ItheDirectoroftheBureauofPrisonsr'
                                                                              -Ithecourtunder13U.S.C.
      j3582(c)(2)forareductionintheterm ofimprisonmentimposedbasedonaguidelinesentencingrangethathas
      subsequently beenlowered andmaderetroactivebytheUnitedStatesSentencing Comm ission pursuantto23U .S.C.
      j994(u),andhaving considered suchmotion,andtakingintoaccountthesentencingfactorssetforthin 18U.S.C.j
      3553(a),totheextentthattheyareapplicable,
      IT IS O RDERED thatthe motion is:
              Z DENIED.            Z GRANTED andthedefendant'spreviouslyimposedsentenceofimprisonment(asresectedin
                                  theIastjudgmentissuedlof                                 monthsisreducedto                                    .

      1.COURT DETERM INATION O F G UIDELINE R ANGE (PriortozlnyDepartures)
      PreviousOffenseLevel:                               Amended Offense Level:
      CriminalHistory Category:                           Crim inalHistory Category:
      PreviousGuidelineRange:   to       months           AmendedGuidelineRange:                                               to          months


      II.SENTEN CE RELATIVE TO AM ENDED GUIDELINE RANG E
      E7 Thereducedsentenceiswithintheamendedguidelinerange.
      (7)Thepreviousterm ofimprisonmentimposedwaslessthantheguidelinerangeapplicabletothedefendantatthetime
           ofsentencingasaresultofadepartureorRule35reduction,andthereduced sentenceiscomparably lessthanthe
           am ended guidelinerange.
      Z Other(explain):




      111.ADDITIONAL COM M ENTS


           See atlached m em orandum opinion.


      Exceptasprovided above,allprovisionsofthejudgmentdated November15,20ll shallremain in effect.
      IT IS SO ORDER ED.

      OrderDate:          Sœ               Nk-Txfj              IS
                                                                                                      ludge'ssignafwre
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      EffectiveDate:                                                             Hon.Glen E.Conrad,ChiefU .S.DistrictJudge
                              (Lfd@erentfrom order(
                                                  /tzf
                                                     c?                                          Printednameandtltle
